 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 1 of 13 PageID# 447




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       )                    CRIMINAL NO. 3:17CR 49
                         )                    EVIDENTIARY HEARING REQUESTED.
PATRICK FALTE            )

        PETITIONER’S REPLY MEMORANDUM TO THE RESPONSE
   MEMORANDUM OF THE RESPONDENT UNITED STATES TO PETITIONER’S
       MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

       The Petitioner, Patrick Falte, by and through counsel, files his reply to the government’s

response to Mr. Falte’s motion to vacate, set aside, or correct sentence. Mr. Falte requests an

evidentiary hearing. Mr. Falte would state the following grounds for his request for relief in his §

2255 motion:

       1.      Counsel provided ineffective assistance of counsel by failing to request a downward
               variance from the sex crime enhancement pursuant to U.S.S.G. § 4B1.5(b).

       2.      The government violated Petitioner’s constitutional right to Due Process under the
               Fifth Amendment and also violated the ABA Standards for the prosecution function,
               Standard 3-8.2 Appeals by taking an implicitly contrary position in Petitioner’s direct
               appeal of his life sentence by moving to dismiss his appeal.

       3.      Counsel failed to provide effective assistance of counsel by failing to investigate and
               argue for a downward variance from the sentencing guidelines for a head injury from
               falling off a retaining wall as a child as a sentencing factor pursuant to 18 U.S.C.
               § 3553(a).

       4.      The trial court failed to provide sufficient explanation of its imposition of a life
               sentence rather than the thirty (30) year mandatory minimum sentence, or even the
               fifty (50) year sentence, as recommended by the defendant and government
               respectively. The sentence created an unwarranted disparity among defendants that
               committed equally or more egregious conduct within the district and/or nationally.
               Also, the court failed to provide sufficient explanation for the five level increase
               pursuant to U.S.S.G. § 4B1.5(B).



                                                 1
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 2 of 13 PageID# 448




                                   STANDARD OF REVIEW

       A federal prisoner, in custody, may collaterally attack his sentence or conviction by
       moving the district court "to vacate, set aside or correct the sentence" pursuant to 28
       U.S.C. § 2255. To obtain such relief, a petitioner bears [**19] the burden of proving
       that his sentence or conviction was "imposed in violation of the Constitution or laws
       of the United States," that the district court "was without jurisdiction to impose such
       sentence," that the sentence exceeds "the maximum authorized by law," or that the
       sentence or conviction is "otherwise subject to collateral attack." 28 U.S.C. §
       2255(a). To obtain relief, a petitioner must prove the asserted grounds for relief by
       a preponderance of the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir.
       1958). Because a § 2255 motion "is ordinarily presented to the judge who presided
       at the original conviction and sentencing . . . the judge's recollection of the events at
       issue may enable him summarily to dismiss a § 2255 motion." Blackledge v. Allison,
       431 U.S. 63, 74 n.4, 97 S. Ct. 1621, 52 L. Ed. 2d 136 (1977).

Rowsey v. United States, 71 F. Supp. 3d 585, 595 (E.D. Va. 2014).


       “Once the defendant's chance to appeal has been waived or exhausted, however, we are

entitled to presume he stands fairly and finally convicted, especially when, as here, he already has

had a fair opportunity to present his federal claims to a federal forum.” United States v. Frady, 456

U.S. 152, 164, 102 S. Ct. 1584, 1592-93 (1982).

       It is well settled that ineffective assistance of counsel claims should be raised in § 2255

motions. United States v. Baptiste, 596 F.3d 214, 216 n.1 (4th Cir. 2010).




                                   FACTUAL ALLEGATONS

1.     Counsel provided ineffective assistance of counsel by failing to request a downward variance
       from the sex crime enhancement pursuant to U.S.S.G. § 4B1.5(b).

       Mr. Falte pled guilty to aggravated sexual abuse of a minor, in violation of 18 U.S.C. §

2241(c). He faced a mandatory minimum of thirty (30) years imprisonment and a maximum senence



                                                  2
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 3 of 13 PageID# 449




of life imprisonment. The government agreed pursuant to Rule 11(c)(1)(B) of the Federal Rules of

Criminal Procedure to recommend a sentence of no greater than 50 years of imprisonment. Mr. Falte

argued for a sentence of thirty (30) years imprisonment. (Plea Agreement, Doc. 48, ¶ 6).

       Mr. Falte received a five level offense enhancement for “engaging in a pattern of activity

involving prohibited sexual conduct.” U.S.S.G. § 4B1.5(b); (PSR ¶ 46, Doc. 58; Sentencing Hearing

Transcript, September 15, 2017, Docs. 66, 73). This court applied this sentencing guideline

enhancement, but stated “...then there is a five-point enhancement, which really is impossible to

explain in words, but it is due to the nature of the crime in this case,...”. Sentencing Hearing

Transcript, September 15, 2017, Docs. 66, 73, p. 4). This guideline enhancement increased Mr.

Falte’s offense level from a total offense level of 39 to the maximum offense level of 43. Therefore,

without the enhancement, Mr. Falte’s final guideline range after the three level reductions for

acceptance of responsibility would have been 262-327 months if the court had considered a variance.

(P.S.R. ¶¶ 45-49).    With the § 4B1.5(b) enhancement, Mr. Falte’s guideline range was life

imprisonment.

       Trial counsel failed to request a downward variance and/or departure from the five level

guideline enhancement in this case.

2.     The government violated Movant’s constitutional right to Due Process under the
       Fifth Amendment and also violated the ABA Standards for the prosecution function,
       Standard 3-8.2 Appeals by taking an implicitly contrary position in Movant’s direct
       appeal of his life sentence by moving to dismiss his appeal.

       The government agreed to recommend that the court sentence defendant to no greater than

50 years of imprisonment in the plea agreement pursuant to Rule 11(c)(1)(B) of the Federal Rules

of Criminal procedure. (Plea Agreement, Doc. 48, ¶ 6). When Mr. Falte filed his direct appeal in



                                                 3
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 4 of 13 PageID# 450




this case, the government filed a motion to dismiss for violation of his plea agreement. (United

States Court of Appeals, Fourth Circuit, Case No. 17-4620, Doc. 26). The United States Court of

Appeals, Fourth Circuit granted the government’s motion to dismiss his appeal as to the validity of

his plea agreement and the life sentence. (United States Court of Appeals, Fourth Circuit, Case No.

17-4620, Doc. 26).      The Fourth Circuit found that Mr. Falte waived his right to appeal his

conviction and his sentence. (United States Court of Appeals, Fourth Circuit, Case No. 17-4620,

Doc. 26).

3.     Counsel failed to provide effective assistance of counsel by failing to investigate and argue
       for a downward variance from the sentencing guidelines for a head injury from
       falling off a retaining wall as a child as a sentencing factor pursuant to 18 U.S.C.
       § 3553(a).

       Trial counsel failed to investigate and argue for a downward variance from Mr. Falte’s total

offense level of 43 due to the head injury that he suffered as a child.

4.     The trial court failed to provide sufficient explanation of its imposition of a life sentence
       rather than the thirty (30) year mandatory minimum sentence, or even the fifty (50) year
       sentence, as recommended by the defendant and government respectively. The sentence
       created an unwarranted disparity among defendants that committed equally or more
       egregious conduct within the district and/or nationally. Also, the court failed to provide
       sufficient explanation for the five level increase pursuant to U.S.S.G. § 4B1.5(B).

       This trial court failed to give sufficient explanation for rejecting the parties’ sentencing

recommendation of between thirty (30 and fifty (50) years. The life sentence was unreasonable and

resulted in an unwarranted disparity among defendants. The court failed to provide explanation of

the five level increase pursuant to U.S.S.G. § 4B1.5(B).

                                           ARGUMENT

1.     Counsel provided ineffective assistance of counsel by failing to request a downward variance
       from the sex crime enhancement pursuant to U.S.S.G. § 4B1.5(b).



                                                  4
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 5 of 13 PageID# 451




       Trial counsel was ineffective in failing to request a downward variance from the five level

enhancement pursuant to U.S.S.G. § 4B1.5(b) for a defendant “engaged in a pattern of activity

involving prohibited sexual conduct.” U.S.S.G. § 4B1.5(b); (PSR ¶ 46, Doc. 58; Sentencing Hearing

Transcript, September 15, 2017, Docs. 66, 73).

       The Sixth Amendment of the United States Constitution guarantees the right of a defendant

to effective assistance of counsel in criminal cases.      U.S. Const. amend. VI, Strickland v.

Washington, 466 U.S. 668, 685, 104 S. Ct. 2052, 2063 (1984).

       For a defendant “to succeed on a claim of ineffective assistance of counsel, a defendant must

show that: (1) counsel's performance fell below an objective standard of reasonableness (the

performance prong); and (2) the deficient representation prejudiced the defendant (the prejudice

prong). United States v. Carthorne, 878 F.3d 458, 465 (4th Cir. 2017), citing Strickland at 687-88.

“The performance prong is satisfied when counsel provides reasonably effective assistance, including

demonstrating legal competence, doing relevant research, and raising important issues. United States

v. Carthorne, 878 F.3d 458, 465 (4th Cir. 2017).

       As Mr. Falte argued in his appellate brief, that “a life sentence is the second most severe

penalty permitted by law.” Harmelin v. Michigan, 501 U.S. 957, 1001, 111 S. Ct. 2680, 2705

(1991); (United States Court of Appeals, Fourth Circuit, Case No. 17-4620, Doc. 19, p. 37).

       Trial counsel requested a below guideline sentence in accordance with the parties’ plea

agreement as variance from the guidelines, but did not request a specific variance and/or guideline

departure from the application of U.S.S.G. § 4B1.5(b).

       In another similar case, the district court in the Western District of Virginia granted a

variance in on child pornography case from the application of § 4B1.5(b)(1), even though the


                                                 5
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 6 of 13 PageID# 452




guideline was applicable by considering the § 3553(a) factors.

       My concern is not that applying both the § 4B1.5(b)(1) and § 2G2.2(b)(5)
       enhancements constitutes "impermissible double counting" (because, as I have
       already explained, it does not). I do indeed feel that, without the imposition of the §
       4B1.5(b)(1) enhancement, the enhancements from which Defendant's subtotal
       offense level of 39 were derived sufficiently account for his offense conduct;
       however, there is nothing "impermissible" about the application of the § 4B1.5(b)(1)
       enhancement in this case. Accordingly, I found that Defendant's total offense level
       is 44, which includes the § 4B1.5(b)(1) enhancement.

       Nonetheless, I concluded that, considering the factors listed in 18 U.S.C. § 3553(a),
       "I think it is appropriate not to consider [the § 4B1.5(b)(1) enhancement] in the
       sentence." I am statutorily bound to "impose a sentence sufficient, but not greater
       than necessary, to comply with the purposes set forth" in 18 U.S.C. § 3553(a)(2). 18
       U.S.C. § 3553(a) (emphasis added). I have attempted here, using as my starting point
       the guideline range resulting from a total offense level of 44, to "make an
       individualized assessment based on the facts presented." Gall v. United States, 552
       U.S. 38, 128 S. Ct. 586, 169 L. Ed. 2d 445(2007)....

       These are serious offenses for which Defendant deserves to be punished.
       Nonetheless, I must consider the facts of the offenses in context. In my view, given
       the nature and circumstances of the offenses and the history and characteristics of the
       defendant, the sentence of 276 months, followed by a lifetime of supervised
       release, is sufficient to reflect the seriousness of the offenses and justly punish
       him. See 18 U.S.C. §§ 3553(a)(1) & (a)(2)(A). Defendant obviously merits a long
       incarceration, and he needs mental health treatment and counseling. However,
       he has no prior criminal history. He has a strong work and military history. He
       immediately cooperated in the investigation and provided authorities with the
       information necessary to further their investigation, in particular with regard
       to his conduct with the two children and their identities.

United States v. Bruffy, No. 6:11CR00006-1, 2012 U.S. Dist. LEXIS 41299, at *12-18 (W.D. Va.

Mar. 26, 2012). (Emphasis in bold).

       The Fourth Circuit held that “4B1.5(b)(1) aims not merely to punish a defendant for the

specific characteristics of the offenses of conviction, as does § 2G2.2(b)(5), but to allow a district

court to impose an enhanced period of incarceration because the defendant presents a continuing

danger to the public.” United States v. Dowell, 771 F.3d 162, 171 (4th Cir. 2014); (upholding


                                                  6
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 7 of 13 PageID# 453




Defendant’s 960 month sentence).

           The application of both Guidelines sections § 2G2.2(b)(5) and 4B1.5(b)(1), does not

constitute impermissible double counting. United States v. Dowell, 771 F.3d 162, 171 (4th Cir.

2014).

         Mr. Falte’s § 3553 factors are very similar to Defendant in Bruffly. Mr. Falte not only had

mental health factors like Defendant Bruffly, but physical health factors as well. Furthermore, Mr.

Falte presumably would not pose a continuing danger to the public if released at close to sixty (60)

years of age even if he had even just received the mandatory minimum sentence.

         Mr. Falte’s trial counsel was ineffective in not advocating for a variance from the 4B1.5(b)(1)

guideline enhancement. This is even more significant when the court described the enhancement

as “really impossible to explain in words.” (Sentencing Hearing Transcript, September 15, 2017,

Docs. 66, 73, p. 4). Trial counsel should have argued that because the application of §4B1.5(b)(1)

is so harsh and results in a lifetime minimum guideline sentence, the court should not have applied

it to Mr. Falte’s case.

         Trial counsel did not argue that application of § 4B1.5(b)(1) would create an unwarranted

disparity between Mr. Falte and similarly situated defendants that committed even more egregious

conduct.

         The government’s rote motion for a downward variance/departure request to a fifty (50) year

sentence prior to the sentencing hearing should have alerted trial counsel that rejection of the parties’

sentencing recommendation was more likely than if the government would have advocated more

forcefully for even the fifty (50) year sentence.

         For these reasons, trial counsel’s failure to request a downward variance from the application


                                                    7
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 8 of 13 PageID# 454




of §4B1.5(b)(1) fell below the objective standard of reasonableness. Mr. Falte’s agreement was no

more beneficial to him than if he had pled guilty without a plea agreement facing a guideline

sentence of life imprisonment. The failure of trial counsel to raise this important issue was

extremely prejudicial to Mr. Falte in resulting in a life sentence. Moreover, Mr. Falte waived his

right to appellate review of his substantively unreasonable life sentence.

       Mr. Falte waived his right to appeal a sentence outside of the parties’ recommendation. If

this were a non-negotiable requirement of the government for Mr. Falte’s acceptance of the plea

agreement, then it was even more important that trial counsel argue for the downward variance from

application of §4B1.5(b)(1).

2.     The government violated Petitioner’s constitutional right to Due Process under the
       Fifth Amendment and also violated the ABA Standards for the prosecution function,
       Standard 3-8.2 Appeals by taking an implicitly contrary position in Petitioner’s direct
       appeal of his life sentence by moving to dismiss his appeal.

       The prosecutor has a role to seek justice and seek to respect the constitutional and legal rights

of all persons.

       (b) The primary duty of the prosecutor is to seek justice within the bounds of the law,
       not merely to convict. The prosecutor serves the public interest and should act with
       integrity and balanced judgment to increase public safety both by pursuing
       appropriate criminal charges of appropriate severity, and by exercising discretion to
       not pursue criminal charges in appropriate circumstances. The prosecutor should seek
       to protect the innocent and convict the guilty, consider the interests of victims and
       witnesses, and respect the constitutional and legal rights of all persons, including
       suspects and defendants.

       The American Bar Association, Criminal Justice Standard for the Prosecution
       Function, Rule 3-1.2(b), Functions and Duties of the Prosecutor


       The American Bar Association, Criminal Justice Standard for the Prosecution Function, Rule

3-8.2(b), Appeals (June 20, 2016) suggests some general principles for prosecutors for appellate


                                                  8
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 9 of 13 PageID# 455




practice which states as follows:

Standard 3-8.2 Appeals -- General Principles

       (b) When the prosecutor receives an adverse ruling, the prosecutor should consider
       whether it may be appealed. If the ruling may be appealed, the prosecutor should
       consider whether an appeal should be filed, and refer it to an appellate prosecutor if
       appropriate for decision.


       The duty to defend a conviction under the ABA, Criminal Justice Standard for the

Prosecution Function, Rule 3-8.1 is also not absolute.

Standard 3-8.1 Duty To Defend Conviction Not Absolute

       The prosecutor has a duty to defend convictions obtained after fair process. This duty
       is not absolute, however, and the prosecutor should temper the duty to defend with
       independent professional judgment and discretion. The prosecutor should not defend
       a conviction if the prosecutor believes the defendant is innocent or was wrongfully
       convicted, or that a miscarriage of justice associated with the conviction has
       occurred.


       In this case, the government moved to dismiss Mr. Falte’s appeal arguing that Mr.

Falte breached the plea agreement in filing his appeal because he agreed to waive the appeal

of any sentence within the statutory maximum, which was life imprisonment. Mr. Falte

appealed the life sentence, among other issues. The government filed a motion to dismiss

the appeal, arguing that Mr. Falte had waived his appellate rights to appeal his life sentence.

       The government was not under any obligation to enforce the appellate waiver. In

fact, the sentence exceeded the government’s own recommendation. The government was

not under any obligation to move to dismiss Mr. Falte’s appeal of his life sentence.

       The above-mentioned ABA Standards do not even require prosecutors to defend

convictions if there is a miscarriage of justice associated with the conviction. Mr. Falte


                                              9
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 10 of 13 PageID# 456




contends that his life sentence was a miscarriage of justice.

        The government could have elected not to take any position on the sentencing issue

on direct appeal.

        Mr. Falte contends that the government improperly defended the substantively

unreasonable life sentence in this case, which was in excess of even the government’s

recommendation. The government took an implicitly inconsistent position that Mr. Falte’s

sentence was reasonable. At the least, the spirit, if not the letter of the above-mentioned

ABA Standards for prosecutors were violated. These acts also violated Mr. Falte’s right

to judicial review of his sentence on direct appeal.

3.      Counsel failed to provide effective assistance of counsel by failing to investigate and
        argue for a downward variance from the sentencing guidelines for a head injury from
        falling off a retaining wall as a child as a sentencing factor pursuant to 18 U.S.C.
        § 3553(a).

        In light of the government’s under seal filing, Mr. Falte withdraws this ground from

specific consideration. (Government’s Response, Doc. 86). Mr. Falte does argue that this

issue is relevant to the court’s overall consideration as the history and characteristics of Mr.

Falte to the extent it was raised.

4.      The trial court failed to provide sufficient explanation of its imposition of a life sentence
        rather than the thirty (30) year mandatory minimum sentence, or even the fifty (50) year
        sentence, as recommended by the defendant and government respectively. The sentence
        created an unwarranted disparity among defendants that committed equally or more
        egregious conduct within the district and/or nationally. Also, the court failed to provide
        sufficient explanation for the five level increase pursuant to U.S.S.G. § 4B1.5(B).

        A sentence may be presumed reasonable that is within or below a properly calculated

guideline range. United States v. Raby, 575 F.3d 376, 381 (4th Cir. 2009).

        [A] defendant can only rebut the presumption by demonstrating that the sentence is


                                                  10
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 11 of 13 PageID# 457




       unreasonable when measured against the § 3553(a) factors." United States v.
       Montes-Pineda, 445 F.3d 375, 379 (4th Cir. 2006). HN26 Section 3553(a) requires
       a district court to impose a sentence that is "sufficient, but not greater than necessary,
       to comply with the purposes" of the statute, considering, inter alia:

         (1) the nature and circumstances of the offense and the history and characteristics
       of the defendant;

          (2) the need for the sentence imposed--

            (A) to reflect the seriousness of the offense, to promote respect for the law, and
       to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant; and

            (D) to provide the defendant with needed educational or vocational training,
       medical care, or other correctional treatment in the most effective manner; [and]

          ....

          (6) the need to avoid unwarranted sentence disparities among defendants with
       similar records who have been found guilty of similar conduct . . . .

United States v. Dowell, 771 F.3d 162, 176 (4th Cir. 2014).

       The sentencing recommendations of the parties met all of the § 3553 factors and considered

all of the individualized history and characteristics of Mr. Falte. The court denied the motion stating

that the other factors outweigh the motion for variance without giving explanation as to why. The

trial court gave much weight to the need to protect the public and specific deterrence, but gave little

deference to the parties’ variance requests and the individualized history and characteristics of Mr.

Falte. Mr. Falte’s history and characteristics were addressed in only a cursory fashion.

       The life sentence of Mr. Falte resulted in an unreasonable sentencing disparity. The Fourth

Circuit has upheld a 97 month sentence in a case where the district court found it to be “‘one of the



                                                  11
Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 12 of 13 PageID# 458




most egregious instances that's ever come before me as a judge,’ and determined that a sentence at

the top of the Guidelines range was appropriate.” United States v. Bowling, 654 F. App'x 127,

127-28 (4th Cir. 2016).

       The Fourth Circuit has found that the uncontroverted evidence shows that defendants with

a Criminal History Category I who were sentenced under U.S.S.G. § 2G1.1, like Mr. Falte, received

an average sentence of 309 months' imprisonment and a median sentence of 240 months'

imprisonment. United States v. Zuk, 874 F.3d 398, 412 (4th Cir. 2017). Mr. Falte’s life sentence

far exceeded the average and the median sentences of similarly situated defendants.

                                         CONCLUSION

       For these reasons, Petitioner Falte requests that this court vacate his sentence and grant him

a new sentencing hearing. Mr. Falte further requests and evidentiary hearing on the matter.

       Respectfully submitted this 25th day of November, 2019.

                                                      s/ Charles Richard Samuels
                                                      Charles R. Samuals, Attorney at Law, PLLC
                                                      4908 Monument Ave
                                                      Suite 100
                                                      Richmond, VA 23230
                                                      (804) 342-1995
                                                      Email: Crsamuels@gmail.com


                                                      s/ Charles D. Buckholts
                                                      Charles D. Buckholts, B.P.R. #019318
                                                      Attorney for Defendant
                                                      40 Burton Hills Blvd., Suite 200
                                                      Nashville, TN 37215
                                                      (615) 386-7118
                                                      (615) 887-8037 (mobile)
                                                      Email: chuck@buckholtslaw.com




                                                12
 Case 3:17-cr-00049-JAG Document 89 Filed 11/25/19 Page 13 of 13 PageID# 459




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of November, 2019, I electronically filed the foregoing
Reply to the Memorandum of the United States in Response to Petitioner’s Motion to Vacate, Set
Aside, or Correct Sentence with the Clerk for the Eastern District of Virginia using the CM/ECF
system, who will send notification of such filing to counsel of record.

                                                     s/ Charles Richard Samuels
                                                     Charles R. Samuals, Attorney at Law, PLLC
                                                     4908 Monument Ave
                                                     Suite 100
                                                     Richmond, VA 23230
                                                     (804) 342-1995
                                                     Email: Crsamuels@gmail.com




                                                13
